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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

GREGORY MARQUE HILLIE                                                             PETITIONER

v.                                                                   No. 4:21CV43-MPM-JMV

CHIEF JUSTICE JUDGE LINDA COLEMAN                                                RESPONDENT


                                   ORDER OF DISMISSAL

       The court takes up, sua sponte, the dismissal of this cause. On April 19, 2021, the court

entered an order requiring the plaintiff to submit an amended petition on the proper form within

21 days. The court cautioned the plaintiff that failure to comply with the order would result in

the dismissal of this case without prejudice. The plaintiff has, however, failed to comply with

the court’s order, and the deadline for compliance passed on May 10, 2021.1 This case is

therefore DISMISSED without prejudice for failure to prosecute and for failure to comply with

an order of the court under FED. R. CIV. P. 41(b).


       SO ORDERED, this, the 7th day of June, 2021.

                                               /s/ Michael P. Mills
                                               UNITED STATES DISTRICT JUDGE
                                               NORTHERN DISTRICT OF MISSISSIPPI




1
  The court received mail marked “Deceased” returned from the last address Mr. Hillie provided.
Hence, even if the petition were to proceed, it would be dismissed as moot because the form of
relief available for a habeas corpus petition proceeding under 28 U.S.C. § 2241 is release from
incarceration.
